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                                                                            Oiv.

             IN THE UNITED STATES DISTRICT COURT FOR                        10:51
                 THE SOUTHERN DISTRICT OF GEORGIA
                          SAVANNAH DIVISION
                                                          SO.0(S i^FCAT


UNITED STATES OF AMERICA,


V.                                            Case No.   CR418-258


TIMOTHY LANIGAN,


                 Defendant




UNITED STATES OF AMERICA,


V.                                            Case No.   CR419-069


GILBERT BASALDUA, ET AL,


                 Defendants




                                  ORDER




      Steven H. Lee, counsel of record for the United States of

America in the above-styled cases, has moved for leave of absence.

The Court is mindful that personal and professional obligations

require the absence of counsel on occasion. The Court, however,

cannot accommodate its schedule to the thousands of attorneys who

practice within the Southern District of Georgia.

      Counsel may be absent at the times requested. However, nothing
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shall prevent these cases from going forward; all discovery shall

proceed, status conferences, pretrial conferences, and        trial shall

not be interrupted or delayed. It is the affirmative obligation of

counsel to provide a fitting substitute.


     SO ORDERED this ^Z_^day of July 2019.


                                 HONORABLE WILLIAM TK MOORE, JR.
                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF GEORGIA
